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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                )    Chapter 7
     In re:                                                     )
                                                                )    Case No. 23-10576 (TMH)
     CHRISTMAS TREE SHOPS, LLC, et al.,1                        )
                                                                )    (Jointly Administered)
                                                                )
                                       Debtors.                 )
                                                                )

AMENDED2 NOTICE OF AGENDA OF MATTERS SCHEDULED FOR HEARING ON
  AUGUST 31, 2023 AT 11:00 A.M. (PREVAILING EASTERN TIME) BEFORE THE
  HONORABLE THOMAS M. HORAN AT THE UNITED STATES BANKRUPTCY
COURT FOR THE DISTRICT OF DELAWARE, LOCATED AT 824 NORTH MARKET
 STREET, 3RD FLOOR, COURTROOM NO. 73, WILMINGTON, DELAWARE 19801

              This hearing will be conducted in-person. All parties, including witnesses, are
    expected to attend in person unless permitted to appear via Zoom. Participation at the in-
     person court proceeding using Zoom is allowed only in the following circumstances: (i) a
    party who files a responsive pleading intends to make only a limited argument; (ii) a party
     who has not submitted a pleading but is interested in observing the hearing; or (iii) other
      extenuating circumstances as determined by Judge Horan. All participants over Zoom
             must register in advance. Please register by August 30, 2023 at 4:00 p.m.
                      Please use the following link to register for this hearing:
    https://debuscourts.zoomgov.com/meeting/register/vJIsceGgqToiHARSucIWBS0W0hZlD
                                              QIvA9o

               After registering your appearance by Zoom, you will receive a confirmation email
                            containing information about joining the hearing.

I.            CASE STATUS CONFERENCE

       1. Status Conference

              Status: The Court has requested a case status conference following conversion from
                      chapter 11 to chapter 7.



1      The Debtors in these chapter 7 cases and the last four digits of each Debtor’s U.S. tax identification number are
       as follows: Christmas Tree Shops, LLC (1207), Handil, LLC (1150), Handil Holdings, LLC (2891), Salkovitz
       Family Trust 2, LLC (8773), and Nantucket Distributing Co., LLC (1640).
2      Amended items appear in bold.
3   Please note the new Courtroom location, Courtroom 7.
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II.      MATTERS GOING FORWARD

      1. Chapter 7 Trustee's Omnibus Motion for Entry of an Order (I) Authorizing the Rejection
         of Certain Unexpired Leases of Nonresidential Real Property; and (II) Granting Related
         Relief [Filed August 24, 2023, Docket No. 555].

         Response Deadline: Responses or Objections are due at or before the Hearing.

         Responses Received:

         None to date.

         Related Documents:

         A.      Motion to Shorten Chapter 7 Trustees Motion to Shorten Notice and Schedule
                 Expedited Hearing on Chapter 7 Trustees Omnibus Motion for Entry of an Order
                 (I) Authorizing the Rejection of Certain Unexpired Leases of Nonresidential Real
                 Property; and (II) Granting Related Relief [Filed August 24, 2023, Docket No.
                 556].

         B.      (Signed) Order Granting Chapter 7 Trustee's Motion to Shorten Notice and
                 Schedule Expedited Hearing on Chapter 7 Trustee's Omnibus Motion for Entry of
                 an Order (I) Authorizing the Rejection of Certain Unexpired Leases of
                 Nonresidential Real Property; and (II) Granting Related Relief [Filed August 24,
                 2023, Docket No. 557].

         C.      Notice of Hearing Regarding Chapter 7 Trustees Motion to Shorten Notice and
                 Schedule Expedited Hearing on Chapter 7 Trustees Omnibus Motion for Entry of
                 an Order (I) Authorizing the Rejection of Certain Unexpired Leases of
                 Nonresidential Real Property; and (II) Granting Related Relief [Filed August 24,
                 2023, Docket No. 561].

         D.      Chapter 7 Trustee’s Witness List for Hearing on August 31, 2023 at 11:00 a.m.
                 (ET) [Filed August 29, 2023, Docket No. #581].

         Status: This matter is going forward.

      2. Motion of George L. Miller, Chapter 7 Trustee, Pursuant to Sections 105, 363, and 365 of
         the Bankruptcy Code, Bankruptcy Rules 2002, 6004, and 6006, and Local Rule 6004-1, for
         Entry of an Order Authorizing Sale and Assumption and Assignment of Somerville, MA
         Lease (Store #7028) to Raymours Furniture Company, Inc. [Filed August 25, 2023, Docket
         No. 569].

         Response Deadline: Responses or Objections are due at or before the Hearing.

         Responses Received:

         None to date.


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        Related Documents:

        A.       Motion to Shorten Notice and Schedule Expedited Hearing on Motion of George
                 L. Miller, Chapter 7 Trustee, Pursuant to Sections 105, 363, and 365 of the
                 Bankruptcy Code, Bankruptcy Rules 2002, 6004, and 6006, and Local Rule 6004-
                 1, for Entry of an Order Authorizing Sale and Assumption and Assignment of
                 Somerville, MA Lease (Store #7028) to Raymours Furniture Company, Inc. [Filed
                 August 25, 2023, Docket No. 570].

        B.       (Signed) Order Granting Motion to Shorten Notice and Schedule Expedited
                 Hearing on Motion of George L. Miller, Chapter 7 Trustee, Pursuant to Sections
                 105, 363, and 365 of the Bankruptcy Code, Bankruptcy Rules 2002, 6004, and
                 6006, and Local Rule 6004-1, for Entry of an Order Authorizing Sale and
                 Assumption and Assignment of Somerville, MA Lease (Store #7028) to Raymours
                 Furniture Company, Inc. [Filed August 25, 2023, Docket No. 571].

        C.       Notice of Hearing Regarding Motion of George L. Miller, Chapter 7 Trustee,
                 Pursuant to Sections 105, 363, and 365 of the Bankruptcy Code, Bankruptcy Rules
                 2002, 6004, and 6006, and Local Rule 6004-1, for Entry of an Order Authorizing
                 Sale and Assumption and Assignment of Somerville, MA Lease (Store #7028) to
                 Raymours Furniture Company, Inc. [Filed August 25, 2023, Docket No. 574].

        D.       Chapter 7 Trustee’s Witness List for Hearing on August 31, 2023 at 11:00 a.m.
                 (ET) [Filed August 29, 2023, Docket No. 581].

        E.       Declaration of George L. Miller in Support of Motion of George L. Miller,
                 Chapter 7 Trustee, Pursuant to Sections 105, 363, and 365 of the Bankruptcy
                 Code, Bankruptcy Rules 2002, 6004, and 6006, and Local Rule 6004-1, for
                 Entry of an Order Authorizing Sale and Assumption and Assignment of
                 Somerville, MA Lease (Store #7028) to Raymours Furniture Company,
                 Inc. [Filed August 30, 2023, Docket No. 592].

        Status: This matter is going forward.

    3. Chapter 7 Trustee’s Emergency Motion Pursuant to Section 362 and 542 of the
       Bankruptcy Code to Compel Turnover of Estate Property and Enforce the Automatic
       Stay [Filed August 29, 2023, Docket No. 588].

        Response Deadline: Responses or Objections are due at or before the Hearing.

        Responses Received:

        None to date.

        Related Documents:

        A.       Motion to Shorten Notice and Schedule Expedited Hearing on Chapter 7
                 Trustee’s Emergency Motion Pursuant to Section 362 and 542 of the


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                 Bankruptcy Code to Compel Turnover of Estate Property and Enforce the
                 Automatic Stay [Filed August 29, 2023, Docket No. 589].

        B.       (Signed) Order Granting Motion to Shorten Notice and Schedule Expedited
                 Hearing on Chapter 7 Trustee’s Emergency Motion Pursuant to Section 362
                 and 542 of the Bankruptcy Code to Compel Turnover of Estate Property and
                 Enforce the Automatic Stay [Filed August 29, 2023, Docket No. 590].

        C.       Notice of Hearing Regarding Chapter 7 Trustee’s Emergency Motion
                 Pursuant to Section 362 and 542 of the Bankruptcy Code to Compel Turnover
                 of Estate Property and Enforce the Automatic Stay [Filed August 29, 2023,
                 Docket No. 591].

        Status: This matter is going forward.

Dated: August 30, 2023
                                            PACHULSKI STANG ZIEHL & JONES LLP

                                            /s/ Bradford J. Sandler
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                                            Colin R. Robinson (DE Bar No. 5524)
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